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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


  Civil Action No. 23-cv-01550-KLM
  (The above civil action number must appear on all future papers
    sent to the court in this action. Failure to include this number
    may result in a delay in the consideration of your claims.)

  ERIC WITT,

        Plaintiff,

  v.

  TOWN OF BENNETT, COLORADO,
  BENNETT FIRE DEPARTMENT,
  ADAMS COUNTY SHERIFF, COLORADO,
  ADAMS COUNTY JAIL, COLORADO,
  SHAWN DAY, individually and in his official capacity as Judge for town of Bennett,
  JOSEPH LICO, individually and in his official capacity as Prosecution for town of
  Bennett,
  KEITH BUONO, individually and in his official capacity as officer for town of Bennett,
  JANE DOE, individually and in her official capacity,
  JOHN DOES 1-4, individually and in their official capacities as Adams County Sheriff's
  Deputies involved in the alleged illegal eviction,
  JOHN DOES 5-10, individually and in their official capacities as Adams County Jail
  Personnel,

        Defendants.


          SECOND ORDER DIRECTING PLAINTIFF TO CURE DEFICIENCIES


        Plaintiff Eric Witt resides in Bennett, Colorado. He has filed pro se an amended

  Complaint. (ECF No. 8.)

        As part of the court’s review pursuant to D.C.COLO.LCivR 8.1(a), the court has

  determined the document is deficient as described in this order. Plaintiff will be



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  directed to cure the following if he wishes to pursue any claims in this action. Any

  papers that Plaintiff files in response to this order must include the civil action number

  on this order.

  28 U.S.C. § 1915 Motion and Affidavit:
  (1)          is not submitted
  (2)          is missing affidavit
  (3)          is missing certified copy of prisoner’s trust fund statement for the 6-month
               period immediately preceding this filing
  (4)          is missing certificate showing current balance in prison account
  (5)          is missing required financial information
  (6)          is missing authorization to calculate and disburse filing fee payments
  (7)          is missing an original signature
  (8)          is not on proper form
  (9)          names in caption do not match names in caption of complaint, petition or
               habeas application
  (10)         other: motion is necessary only if filing and administrative fees totaling
               $402.00 are not paid in advance.

  Complaint, Petition or Application:
  (11)        is not submitted
  (12) xx     is not on proper form Must use Court-approved Complaint form
  (13)        is missing an original signature
  (14)        is missing page nos.
  (15)        uses et al. instead of listing all parties in caption
  (16)        names in caption do not match names in text
  (17)        addresses must be provided for all defendants/respondents in “Section A.
              Parties” of complaint, petition or habeas application
  (18)        other:                                         .

         Plaintiff is informed that he may choose to contact the Federal Pro Se Clinic at

  (303) 380-8786 or https://www.cobar.org/cofederalproseclinic for possible assistance in

  this matter. The Federal Pro Se Clinic is located on the first floor of the Alfred A. Arraj

  United States Courthouse, 901 19th Street, Denver CO 80294. Accordingly, it is

         ORDERED that Plaintiff cure the deficiencies designated above within thirty

  (30) days from the date of this order. Any papers that Plaintiff files in response to


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  this order must include the civil action number on this order. It is

         FURTHER ORDERED that Plaintiff shall obtain the court-approved forms, along

  with the applicable instructions, at www.cod.uscourts.gov. It is

         FURTHER ORDERED that, if Plaintiff fails to cure all of the designated

  deficiencies within thirty (30) days from the date of this order, the action will be

  dismissed without further notice. The dismissal shall be without prejudice.

         DATED July 13, 2023.




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